






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00571-CV






City of Garland, Texas, Appellant


v.


Public Utility Commission of Texas, Appellee






DIRECT APPEAL FROM THE PUBLIC UTILITY COMMISSION OF TEXAS




M E M O R A N D U M   O P I N I O N



		The Public Utility Commission of Texas has filed an Unopposed Motion to Dismiss
for Mootness.  This cause was abated on July 13, 2007 in order to allow the Commission to consider 
amending the rule at issue.  The rule has been amended.  We reinstate this appeal, grant the motion,
and dismiss this appeal.


						                                                                                    

						G. Alan Waldrop, Justice

Before Justices Puryear, Pemberton and Waldrop

Dismissed

Filed:   September 19, 2007



